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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SureFunding, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6671 Las Vegas Blvd.
                                  Suite 210
                                  Las Vegas, NV 89119
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    SureFunding, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5239

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                                 When                           Case number, if known




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Debtor   SureFunding, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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 Fill in this information to identify the case:
 Debtor name SureFunding, LLC
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Brett Hatton                    Brett Hatton      promissory note, Contingent                                                                                        $4,051,144.64
 2906 South 4th                                    subject to         Unliquidated
 Street                          bretthattonatx@gm recharacterization Disputed
 Austin, TX 78704                ail.com
 Autumn Wind                     Neal Falkenberry  promissory note, Contingent                                                                                        $3,746,281.53
 Global                                            subject to         Unliquidated
 Multi-Strategies                tnf@autumnwind.c recharacterization Disputed
 Fund                            om
 10132-G Colvin Run
 Road
 Great Falls, VA
 22066
 Damon Gersh                     Damon Gersh       promissory note, Contingent                                                                                        $2,468,212.89
 84 Longview Rd.                                   subject to         Unliquidated
 Port Washington,                DGersh@maxons.c recharacterization Disputed
 NY 11050                        om
 Jason Eckenroth                 Jason Eckenroth   promissory note, Contingent                                                                                        $2,428,916.49
 3765 Wild Plum                                    subject to         Unliquidated
 Boulder, CO 80304               jason@eckenroth.c recharacterization Disputed
                                 om
 Wayne James and                 Wayne James and promissory note, Contingent                                                                                          $2,213,244.53
 Associates, LLC                 Brian James       subject to         Unliquidated
 2903 Lepage Street                                recharacterization Disputed
 Suite 3                         waynejam1@yahoo
 New Orleans, LA                 .com
 70119
 The Sherri Sands                Greg Sands and                  promissory note, Contingent                                                                          $2,140,732.30
 Revocable Trust                 Sherri Sands                    subject to         Unliquidated
 5137 Jungle Plum                                                recharacterization Disputed
 Road                            SSands@srsandco
 Sarasota, FL 34242              .com,
                                 Gsands@srsandco
                                 .com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SureFunding, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aliva Investments,              Tony Lillios                    promissory note, Contingent                                                                          $1,926,659.07
 Inc.                                                            subject to         Unliquidated
 930 Tahoe Blvd.                 tony.lillios@gmail.             recharacterization Disputed
 802-511                         com
 Incline Village, NV
 89451
 Carrickfergus                   Stephane Carnot   promissory note, Contingent                                                                                        $1,686,354.65
 Investments Limited                               subject to         Unliquidated
 3076 Sir Francis                stephane@carnot.u recharacterization Disputed
 Drakes Highway                  s
 Road
 Tortola, BVI
 Family Iron Trust               Duncan                          promissory note, Contingent                                                                          $1,106,800.85
 5348 Vegas Drive                Ironmonger                      subject to         Unliquidated
 #778                                                            recharacterization Disputed
 Las Vegas, NV                   duncani@scufgami
 89119                           ng.com
 Dennis Pedra                    Dennis Pedra        promissory note,                   Contingent                                                                    $1,070,366.14
 3202 Plantation                                     subject to                         Unliquidated
 Village Village                 dennispedra@yaho recharacterization                    Disputed
 Dorado, PR 00646                o.com
 Glickfield Capital              Louis Glickfield    promissory note,                   Contingent                                                                    $1,069,923.86
 Management, LLC                                     subject to                         Unliquidated
 FBO M. Glickfield               lg@louisglickfield. recharacterization                 Disputed
 Dynasty Trust                   com
 725 Rockville Pike
 3rd Floor
 Rockville, MD 20852
 Self Directed IRA               Earl Coronel      promissory note, Contingent                                                                                          $653,559.59
 Services, Inc.                                    subject to         Unliquidated
 Custodian Earl                  earlmcornell@me.c recharacterization Disputed
 Coronel                         om
 P.O. Box 180344
 Hawaii National
 Park, HI 96718
 Equity Trust                    David Zebrowksi  promissory note, Contingent                                                                                           $576,949.73
 Company                                          subject to         Unliquidated
 Custodian FBO                   d_zebrowski@yaho recharacterization Disputed
 David Zebrowski                 o.com
 11 Dorado Beach
 East
 Dorado, PR 00646
 Jack C. Fortnum                 Jack Fortnum      promissory note, Contingent                                                                                          $563,130.95
 4289 Deephaven                                    subject to         Unliquidated
 Lane                            fortnumjack@gmail recharacterization Disputed
 Naples, FL 34119                .com
 Dylan Taylor                    Dylan Taylor      promissory note, Contingent                                                                                          $554,015.15
 8 Lilhaven Lane                                   subject to         Unliquidated
 Littleton, CO 80123             dylantaylor4@gmai recharacterization Disputed
                                 l.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    SureFunding, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sequris Group, LLC              Eric Eder         promissory note, Contingent                                                                                          $552,179.87
 1071 N. Campbell                                  subject to         Unliquidated
 Rd.                             eric@sequrisgroup recharacterization Disputed
 Royal Oak, MI 48067             .com
 ESECO, LLC                      Eric Eder         promissory note, Contingent                                                                                          $552,179.87
 47911 Halyard Drive                               subject to         Unliquidated
 Suite 100                       eric@sequrisgroup recharacterization Disputed
 Plymouth, MI 48170              .com
 The Briggs                      Matt Briggs       promissory note, Contingent                                                                                          $544,029.08
 Management Trust                                  subject to         Unliquidated
 4 Valbella Dr.                  MBriggs@fourhand recharacterization Disputed
 Austin, TX 78746                s.com
 BF LP                           Randy Brunschwig promissory note, Contingent                                                                                           $535,183.08
 9041 E. Wesley                                    subject to         Unliquidated
 Drive                           randy@excelldeale recharacterization Disputed
 Denver, CO 80231                rs.com
 Dylan Taylor 2011                                 promissory note, Contingent                                                                                          $535,183.07
 Grantor Trust                                     subject to         Unliquidated
 401 East 8th Street                               recharacterization Disputed
 Suite 319
 Sioux Falls, SD
 57103




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      SureFunding, LLC                                                                                Case No.
                                                                                 Debtor(s)                  Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SureFunding, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 CTJT Family Trust
 425 Road 693 PMB 310
 Dorado, PR 00646
 HARRAY Holdings Trust
 425 Road 693 PMB 310
 Dorado, PR 00646
 SIA & Associates, LLC
 6671 Las Vegas Blvd S
 Suite 210
 Las Vegas, NV 89119




 None [Check if applicable]




 April 14, 2020                                                      /s/ Thomas M. Horan
 Date                                                                Thomas M. Horan
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for SureFunding, LLC
                                                                     Fox Rothschild LLP
                                                                     919 North Market Street, Suite 300
                                                                     Wilmington, DE 19801
                                                                     302-654-7444 Fax:302-656-8920
                                                                     thoran@foxrothschild.com




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